             Case 8:21-bk-11710-ES                   Doc 119 Filed 06/09/22 Entered 06/09/22 23:22:35                                       Desc
                                                      Main Document     Page 1 of 9



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
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         Individual appearing without an attorney
         Attorney for: Houser Bros. Co.

                                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

    In re:                                                                      CASE NO.: . 8:21-bk-11710-ES
JAMIE LYNN GALLIAN,                                                             CHAPTER: 7



                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion 1):
                                                                                Hearing on Motion Objecting
                                                                                to Debtor's Claimed Homestead Exemption
                                                                  'HEWRU V


PLEASE TAKE NOTE that the order titled Order Continuing Hearing on Motion Objecting to Debtor's Claimed Homestead
Exemption

was lodged on (date)           06/09/2022          and is attached. This order relates to the motion which is docket number 95                     .




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
6/9/22, 11:19Case
              PM      8:21-bk-11710-ES            Doc 119 Filed Lodged
                                                                06/09/22       Entered
                                                                       Order Upload (L.O.U) 06/09/22 23:22:35          Desc
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                                             Bankruptcy LODGED ORDER UPLOAD FORM

                                                                                                             Thursday, June 09, 2022




   C O N F I R M AT I O N :

    Yo u r L o d g e d O r d e r I n f o :
   ( 11 2 0 9 9 1 0 . d o c )
      A new order and exhibit has been added




            Office: Santa Ana
            C a s e Ti t l e : J a m i e Ly n n G a l l i a n
            C a s e N u m b e r : 2 1 - 11 7 1 0
            Judge Initial: ES
            C a s e Ty p e : b k ( B a n k r u p t c y )
            Document Number: 95
            O n D a t e : 0 6 / 0 9 / 2 0 2 2 @ 11 : 1 9 P M


   T h a n k Yo u !


   United States Bankruptcy Court
   Central District of California
   Edward R. Roybal Federal Building and Courthouse
   2 5 5 E a s t Te m p l e S t r e e t
   Los Angeles, CA 90012




https://ecf-ciao.cacb.uscourts.gov/UploadOrders/Default.aspx?cmCookie=1830367-5962-159932565314321.288220508996118%3b&cmCaseType=b…    1/1
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     Irvine, CA 92620
 6   Telephone: (949) 333-7777
     Facsimile: (949) 333-7778
 7
   Attorneys for Movant and Creditor,
 8 HOUSER BROS. CO. dba RANCHO DEL

 9 REY MOBILE HOME ESTATES

10                                      UNITED STATES BANKRUPTCY COURT

11                       CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
12 In re                                                           Case No. 8:21-bk-11710-ES
13 JAMIE LYNN GALLIAN,                                             Chapter 7
14                         Debtor.                                 ORDER CONTINUING HEARING ON
                                                                   MOTION OBJECTING TO DEBTOR’S
15                                                                 CLAIMED HOMESTEAD EXEMPTION
16                                                                 PREVIOUS HEARING DATE
                                                                   Date: June 2, 2022
17                                                                 Time: 10:30 a.m.
                                                                   Ctrm: 5A
18                                                                 Location: 411 W. Fourth Street, Santa Ana, CA
                                                                   92701
19
                                                                   CONTINUED HEARING DATE
20                                                                 Date: July 21, 2022
                                                                   Time: 10:30 a.m.
21                                                                 Ctrm: 5A1
                                                                   Location: 411 W. Fourth Street, Santa Ana, CA
22                                                                 92701
23

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26   1
         To continue to aid in the mitigation of the spread of the COVID-19 virus and in light of the response of the Bar to
                continue virtual appearances, Judge Smith will continue to hold the majority of her hearings remotely using
27              ZoomGov audio and video. However, beginning September 1, 2021, Judge Smith will allow the option for in-
                person hearings and/or hybrid proceedings for trial and evidentiary hearings only.
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            On June 2, 2022, at 10:30 a.m., the Court conducted a hearing on the Motion objecting
 1
     to Debtor’s claimed homestead exemption (“Motion”), filed by Houser Bros. Co., dba Rancho
 2
     Del Rey Mobile Home Estates (“Houser Bros.”) on May 12, 2022, as Dk No. 95. All
 3
     appearances were as noted on the record. Prior to the hearing, the Court published a tentative
 4
     ruling regarding the Motion, which is attached as Exhibit “1” and incorporated as the final
 5
     ruling of the Court.
 6
            The Court, having read and considered the Motion, declaration, supporting evidence, and
 7
     memorandum of points and authorities, filed by Houser Bros.; the Debtor’s late filed opposition to
 8
     the Motion, Dk. No. 105; the joinders to the Motion filed by The Huntington Beach Gables
 9
     Homeowners Associations (“HOA”), Dk. No. 98, and by Janine Jasso (“Ms. Jasso,” and
10
     collectively with HOA the “Joining Parties”), Dk. No. 100; and all other pleadings and papers filed
11
     in this case, and having heard the statements of counsel, the Court orders as follows:
12
            IT IS ORDERED that:
13
        1. The hearing on the Motion is continued to July 21, 2022, at 10:30 a.m. to allow Houser
14
            Bros. and/or the Joining Parties to file a reply/replies to Debtor’s late opposition filed on
15
            June 1, 2022.
16
        2. Any replies by Houser Bros. or the Joining Parties must be filed by July 7, 2022.
17
        3. No other pleadings may be filed regarding the Motion.
18
                                                      ###
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                                                      EXHIBIT 1
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                               United States Bankruptcy Court
                                Central District of California
                                           Santa Ana
                                     Erithe Smith, Presiding
                                     Courtroom 5A Calendar

Thursday, June 2, 2022                                                    Hearing Room         5A

10:30 AM
8:21-11710      Jamie Lynn Gallian                                                       Chapter 7

   #30.00      Hearing RE: Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home
               Estates Motion Objecting to Debtor's Claimed Homestead Exemption

                                   Docket      95

  Courtroom Deputy:
      - NONE LISTED -

  Tentative Ruling:

      June 2, 2022

      Continue hearing to July 21, 2022 at 10:30 a.m. to allow Movant/Joining
      Parties to file a reply to Debtor's late opposition filed on June 1, 2022, which
      reply(ies) must be filed by July 7, 2022. No other pleadings may be filed.

      Basis for Tentative Ruling:

      1. Because Debtor filed her opposition one day prior to the hearing, the court
      has not had an opportunity to review it and the Movant was not afforded the
      opportunity to file a reply to the opposition. Under the Local Bankruptcy
      Rules, the court may exclude late-filed pleadings and not consider them at all.
      On this one occassion, the court will make an exception and allow the
      opposition. However, in the future, the court will not consider any pleadings
      filed by Debtor after the day they are due.

      2. Based solely on the timely filed Motion and joinders, the court would be
      inclined to grant the Motion.
                                      Party Information
  Debtor(s):
       Jamie Lynn Gallian                           Pro Se
  Trustee(s):
       Jeffrey I Golden (TR)                        Represented By
6/2/2022 11:20:58 AM                        Page 67 of 74


                                                                          EXHIBIT 1, PAGE 3
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                          United States Bankruptcy Court
                           Central District of California
                                         Santa Ana
                                   Erithe Smith, Presiding
                                   Courtroom 5A Calendar

Thursday, June 2, 2022                                                Hearing Room    5A

10:30 AM
CONT...       Jamie Lynn Gallian                                                Chapter 7
                                                   Aaron E DE Leest
                                                   Eric P Israel




6/2/2022 11:20:58 AM                      Page 68 of 74


                                                                      EXHIBIT 1, PAGE 4
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 9,
2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On June 9, 2022, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR
JAMIE LYNN GALLIAN
16222 MONTEREY LN UNIT 376
HUNTINGTON BEACH, CA 92649

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on _________________, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

PURSUANT TO THE COURTROOM POLICIES AND PROCEDURES OF THE HONORABLE ERITHE A. SMITH,
COURTROOM 5A, §VIII. JUDGES’ OR COURTESY COPIES, EXCEPT FOR DOCUMENTS 200 PAGES OR OVER,
INCLUDING EXHIBITS, JUDGE SMITH DOES NOT REQUIRE JUDGES’ COPIES.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 9, 2022                   Layla Buchanan                                                   /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                   Main Document     Page 9 of 9


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Aaron E DE Leest adeleest@DanningGill.com,
        danninggill@gmail.com; adeleest@ecf.inforuptcy.com
     ATTORNEY FOR CREDITOR and PLAINTIFF THE HUNTINGTON BEACH GABLES HOMEOWNERS
        ASSOCIATION: Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com; goeforecf@gmail.com
     TRUSTEE JEFFREY I GOLDEN (TR): Jeffrey I Golden (TR lwerner@wgllp.com, jig@trustesolutions.net;
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     ATTORNEY FOR PLAINTIFF HOUSER BROS. CO.: D Edward Hays ehays@marshackhays.com,
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        cmendoza@ecf.courtdrive.com
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     ATTORNEY FOR DEFENDANT RANDALL L NICKEL: Mark A Mellor mail@mellorlawfirm.com,
        mellormr79158@notify.bestcase.com
     INTERESTED PARTY COURTESY NEF: Valerie Smith claims@recoverycorp.com
     U.S. TRUSTEE: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
